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3                           UNITED STATES DISTRICT COURT FOR THE
                              WESTERN DISTRICT OF WASHINGTON
4
                                        AT SEATTLE
5
6
                                                             NO. MJ20-336
7
       UNITED STATES OF AMERICA,
8                                                            NOTICE OF APPEAL TO
                                       Plaintiff,            TO THE NINTH CIRCUIT
9
                           v.
10
       MARGARET AISLINN CHANNON,
11
                                      Defendant.
12
13
     Pursuant Federal Rules of Appellate Procedure 4(b) and 9(a) of the notice is hereby given
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     that, pursuant to 18 U.S.C. §§ 3145 and 3731, the United States of America appeals to the
15
     United States Court of Appeals for the Ninth Circuit from the July 20, 2020 order of the
16
     District Court granting the defendant’s request for release on bond pending trial.
17
             DATED this 21st day of July, 2020.
18
                                                    Respectfully submitted,
19
20                                                  BRIAN T. MORAN
                                                    United States Attorney
21
22                                                  /s Helen J. Brunner
                                                    HELEN J. BRUNNER
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